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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X




WILLIE E. DENNIS,                                                      20 CV 09393 (MKV)

                                   Plaintiff,                          AMENDED
                                                                       COMPLAINT
v.                                                                     Jury Trial Demanded
K&L GATES LLP, DAVID TANG, JAMES
SEGERDAHL, JEFFREY MALETTA,
MICHAEL CACCESE, ANNETTE BECKER,
PALLAVI WAHI, JOHN BICKS, and
CHARLES TEA.



                                    Defendants.
--------------------------------------------------------------X


        Plaintiff, WILLIE E. DENNIS (“Plaintiff”), appearing pro se, brings this lawsuit

against Defendants K&L GATES LLP (“K&L GATES” or “the Firm”), DAVID TANG

(“Tang”), JAMES SEGERDAHL (“Segerdahl”), JEFFREY MALETTA (“Maletta”),

MICHAEL CACCESE (“Caccese”), ANNETTE BECKER (“Becker”), PALLAVI

WAHI (“Wahi”), JOHN BICKS (“Bicks”), and CHARLES TEA (“Tea”), (collectively,

the “Individual Defendants” and, together with K&L GATES, the “Defendants”), and

hereby alleges, upon information and belief, the following:
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                              NATURE OF THE ACTION

       1.      Plaintiff was employed by the Firm as an attorney for seventeen (17) years

and was improperly terminated, including in retaliation for his simply raising concerns

that the Firm was discriminating against Plaintiff on the basis of his race and in

retaliation for his merely raising concerns that the Firm was discriminating against its

members and employees on the basis of gender and race and allowing its members to

sexually harass the Firm’s members and employees.

       2.      Plaintiff proceeds pursuant to 42 U.S. Code § 1981, Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §§2000e, et seq., as amended (“Title VII”), the New York

State Human Rights Law, N.Y. Executive Law §§ 290 et seq. (“NYSHRL”) and the New

York City Human Rights Law, Administrative Code §§ 8-101 et seq. (“NYCHRL”).

       3.      As set forth below, Plaintiff, an African American attorney, was a member

of the Firm in its New York office for 17 years. He was the victim of systemic racism and

discriminatory barriers to equal treatment, which were widely known to exist within the

global law firm of K&L GATES and which has included the unlawful denial of bonuses,

compensation commensurate with fellow White employees, and fairness with respect to

the terms and conditions of his employment.

       4.      The Firm was under intense scrutiny from legal publications such as

Law.com due to allegations of a culture of sexual misconduct (See

https://www.law.com/thelegalintelligencer/2018/12/12/at-kl-GATES-women-alleged

misconduct-and-left-as-accused-employees-stayed-on/). When Plaintiff attempted to


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discuss the issue with the Firm to mitigate the damage and create a better sexual

harassment process internally, the Firm and a small group of leaders (i.e., the Individual

Defendants) subjected Plaintiff to unlawful retaliation, including reducing his

compensation and, ultimately, discharging him from the Firm. The Firm terminated his

employment after Plaintiff repeatedly demanded that his fellow White employees refrain

from discriminating against African American lawyers and from sexually harassing

women lawyers including law student summer interns.

       5.      The Firm also created a racially hostile work environment that was severe

and/or pervasive.

       6.      Plaintiff repeatedly complained internally to management of the Firm

about all of the allegations above. When Firm employees and associates learned of the

Individual Defendants’ conduct, they did not honor their ethical and legal obligations to

bring the discrimination, hostile work environment, and retaliation to an end.

       7.      As a result of Plaintiff’s race and protected activity of complaints about

discrimination, harassment and retaliation, the Individual Defendants, who were well

aware and knowledgeable of this, subjected Plaintiff to materially adverse employment

actions.

       8.      Defendants progressively increased the pressure on Plaintiff, and added to

the harms and losses being suffered by Plaintiff by continuing to diminish the terms and

conditions of his employment (including compensation) compared to his White employee

counterparts, and ultimately terminated him.


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                             JURISDICTION AND VENUE

       9.      This action involves federal questions regarding the deprivation of

Plaintiff’s rights under 42 U.S.C. Section 1981 and Title VII of the Civil Rights Acts of

1964 and 1991, all as amended. This Court has original jurisdiction over Plaintiff’s

Section 1981 claims pursuant to 28 U.S.C. §§ 1331 and 1343(a)(4). The Court has

original jurisdiction over Plaintiff’s Title VII claims pursuant to those two provisions as

well as 42 U.S.C. §2000e-5(f)(3). Furthermore, the Court has supplemental jurisdiction

over Plaintiff’s related claims arising under New York State and New York City laws

pursuant to 28 U.S.C. § 1367(a).

       10.     Pursuant to 28 U.S.C. § 1391(c) and 42 U.S.C. §2000-5(f)(3), venue is

proper in this district because a substantial part of the events or omissions giving rise to

this action, including the unlawful discriminatory and unlawful retaliatory practices

alleged herein, occurred in this district. Additionally, the relevant employment records

were and are maintained, in whole or in part, at the Firm’s office located in this district,

which office employs over 100 attorneys.

       11.     Plaintiff timely filed a formal charge of discrimination against Defendants

with the U.S. Equal Employment Opportunity Commission (EEOC) on March 3, 2020.

The EEOC issued a notice of right to sue to Plaintiff on or about August 10, 2020.

Plaintiff has accordingly timely filed this action, to wit, within 90 days of the date of his

receipt thereof.




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                                        PARTIES

PLAINTIFF

        12.    Plaintiff is a resident of New York, New York and is an African American

attorney licensed to practice in the States of New York, New Jersey, and the District of

Columbia.

        13.    Plaintiff was employed by the Firm for seventeen (17) years as an

employee in its New York Office located at 599 Lexington Avenue, New York, New

York 10022. At all relevant times, Plaintiff was employed by, associated with and/or an

employee of the Firm and met the definition of an “employee” under all applicable

statutes.

DEFENDANTS

        14.    Defendant K&L GATES is a global law firm with over 1,800 lawyers and

45 offices worldwide. Defendant generated over $1 billion in revenues in 2020. The Firm

has a principal place of business at 599 Lexington Avenue, New York, New York, 10022.

At all relevant times, Defendant K&L GATES has met the definition of an “employer”

under all applicable statutes.

        15.    Defendant Tang is a resident of Seattle, Washington and at all times

relevant herein served, and continues to date to serve, as a member of the Firm’s

Executive Committee, as well as Managing Partner of the Asia Offices of the Firm. At all

relevant times, Defendant Tang directly participated in the discriminatory, retaliatory,




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and otherwise unlawful employment decisions and actions taken against Plaintiff, and

was a “covered employer” and/or “aider” or “abettor” under all relevant statutes.

        16.     Defendant Segerdahl is a resident of Pittsburgh, Pennsylvania and at all

times relevant herein served, and continues to date to serve, as the Global Managing

Partner of the Firm. At all relevant times, Defendant Segerdahl directly participated in the

discriminatory, retaliatory, and otherwise unlawful employment decisions and actions

taken against Plaintiff, and was a “covered employer” and/or “aider” or “abettor” under

all relevant statutes.

        17.     Defendant Maletta is a resident of Washington, D.C. and at all times

relevant herein served, and continues to date to serve, as the General Counsel of the Firm.

At all relevant times, Defendant Maletta directly participated in the discriminatory,

retaliatory, and otherwise unlawful employment decisions and actions taken against

Plaintiff, and was a “covered employer” and/or “aider” or “abettor” under all relevant

statutes.

        18.     Defendant Caccese is a resident of Boston, Massachusetts and at all times

relevant herein served, and continues to date to serve, as the Chairman and Practice Area

Leader Asset Management and Investment Funds of the Firm. At all relevant times,

Defendant Caccese directly participated in the discriminatory, retaliatory, and otherwise

unlawful employment decisions and actions taken against Plaintiff, and was a “covered

employer” and/or “aider” or “abettor” under all relevant statutes.




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        19.     Defendant Becker is a resident of Seattle, Washington and at all times

relevant herein served, and continues to date to serve, as an employee and Practice Area

Leader Corporate of the Firm. At all relevant times, Defendant Becker directly

participated in the discriminatory, retaliatory, and otherwise unlawful employment

decisions and actions taken against Plaintiff and was a “covered employer” and/or “aider”

or “abettor” under all relevant statutes.

        20.     Defendant Wahi is a resident of Seattle, Washington and at all times

relevant herein served, and continues to date to serve, as the Co-Managing Partner of the

United States; Managing Partner in the Seattle office; Chair of the Firm-wide Diversity

Committee; and Co-Chair of the Firm-wide India practice of the Firm. At all relevant

times, Defendant Wahi directly participated in the discriminatory, retaliatory, and

otherwise unlawful employment decisions and actions taken against Plaintiff, and was a

“covered employer” and/or “aider” or “abettor” under all relevant statutes.

        21.     Defendant Bicks is a resident of New York, New York and at all times

relevant herein served, and continues to date to serve, as the Managing Partner in the

New York Office of the Firm. At all relevant times, Defendant Bicks directly participated

in the discriminatory, retaliatory, and otherwise unlawful employment decisions and

actions taken against Plaintiff, and was a “covered employer” and/or “aider” or “abettor”

under all relevant statutes.

        22.     Defendant Tea is a resident of Pittsburgh, Pennsylvania and at all times

relevant herein served, and continues to date to serve, as an employee and Deputy


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General Counsel of the Firm. At all relevant times, Defendant Tea directly participated in

the discriminatory, retaliatory, and otherwise unlawful employment decisions and actions

taken against Plaintiff, and was a “covered employer” and/or “aider” or “abettor” under

all relevant statutes.

                              FACTUAL ALLEGATIONS

EXAMPLES OF THE SYSTEMIC RACISM THAT PERMEATED THE FIRM
TO CREATE A RACIALLY HOSTILE WORK ENVIRONMENT TOWARDS
AFRICAN AMERICAN ATTORNEYS INCLUDING THE PLAINTIFF

        23.     At all relevant times, systemic racism permeated the Firm, creating

unlawful discriminatory barriers to equal treatment, which resulted in the widespread and

constant loss of opportunities for African American lawyers as well as the Plaintiff.

        24.     Though the Firm held itself out as a leader of diversity by supporting

minority focused legal bar organizations such as the National Bar Association, the

Minority Corporate Counsel Association, and Corporate Counsel Women of Color,

internally the Firm practiced systemic racism and sexism.

        25.     At the Firm, African American attorneys faced minimal career

opportunities, limited training and development opportunities, a denial of access to

substantive and high profile legal work, and significant roadblocks to employeeship.

        26.     In terms of compensation, African American lawyers employed by the

Firm as associates were, and continue to be, paid less compensation than their White

counterparts.


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        27.    African American employees were, and continue to be, compensated

significantly less by the Firm than the compensation paid to White employees due to their

race.

        28.    The Firm has failed to provide equal opportunity for African American

lawyers, especially in terms of salary, bonuses, training, development, access to clients,

and billable hours.

        29.    The Firm has not been able to retain African American attorneys because

of its discriminatory culture. Within a short period of time after arrival at the Firm, highly

qualified African American lawyers have departed:

        John Doe 1 (African American)

        John Doe 2 (African American)

        John Doe 3 (African American)

        John Doe 4 (African American)

        John Doe 5 (African American)

        Jane Doe 1 (African American)

        Jane Doe 2 (African American)

        Jane Doe 3 (African American)

        Jane Doe 4 (African American)

        Jane Doe 5 (African American)

        Jane Doe 6 (African American)

        Jane Doe 7 (African American)
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          Jane Doe 8 (African American)

          Jane Doe 9 (African American)

          Jane Doe 10 (African American)

          Jane Doe 11 (African American)

          Jane Doe 12 (African American)

          Jane Doe 13 (African American)

          30.    In response to each and every departure, Plaintiff would complain

internally to Firm Management and the Individual Defendants about the departure of

African American attorneys. Plaintiff expressed his concern about the unfair treatment

experienced by African American lawyers with respect to opportunities for advancement

compared to White attorneys.

          31.    Though the public explanation offered by the Firm for each departure was

“they left for better opportunities,” in fact the Firm did not foster an equitable work

environment for these African American attorneys.

          32.    When Plaintiff continually raised concerns about this high attrition rate of

African American attorneys, Firm Management would repeatedly respond to Plaintiff by

saying:

          a. “African American lawyers cannot handle Big Law”;

          b. “African American lawyers are not ready to work at AMLAW 250 Firms”;

          c. “Black lawyers don’t have what it takes to succeed at K&L GATES”;

          d. “Black lawyers cannot bring big clients to the Firm”;
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       e. “Black lawyers don’t fit in”;

       f. “Black lawyers can’t cut the mustard and their legal skills are substandard”;

       g. “African American lawyers are not our preference for our clients…We prefer

       White and Asian lawyers to be staffed on our clients’ matters”; and

       h. “Black employees are not expected to be good lawyers. We need them to make

       it rain.”

       33.     Each year, Plaintiff was subjected to these racist responses and racist

sentiments. Plaintiff was also subjected to a hostile work environment and suffered

mental pain and anguish.

       34.      Since Defendant Caccese became the Chairman of the Firm in 2017, he

has systemically “counseled out” African American employees, and ended the tenure of

the only African American employee on the Firm’s Executive Management Team.

       35.     Currently, there are no African Americans on the Firm’s Executive

Committee.

       36.     The only African American employee who served on the Firm’s Executive

Management Committee was removed from that committee in 2017.

       37.     Jane Doe 1, who is African American, graduated from Harvard Law

School, speaks six languages, is the daughter of a civil rights leader and icon, and was the

Firm’s Chief Diversity Officer. Defendant Caccese forced Jane Doe 1 out of the Firm in

2019, without any explanation.

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       38.     John Doe 1 was the first and only African American employee in the

Firm’s largest office, Seattle. He was forced out of the Firm in 2005. There has not been

another African American employee in the Seattle office since 2005.

       39.      With respect to compensation, the Firm has different standards for Black

and White attorneys. The Firm hired White lateral employees, like Defendant Bicks, who

never met any of the financial representations he made to the Firm prior to joining. Yet,

the Firm still promoted these employees into senior management positions and provided

them with compensation significantly above that of African American employees.

African American employees who met their commitments and brought in new business

were not fully compensated or promoted to senior management positions.

       40.     As a result of discriminatory hiring practices as well as discriminatory

promotion practices, in 2020, the Seattle, Pittsburgh, and Boston offices – three of the

largest offices of the Firm – did not have a single African American male employee. The

Boston and Pittsburgh offices do not have a single African American employee. The Firm

hides this by listing some African American employees, such as John Doe 7, who resides

in New Jersey, in two different offices (New York and Pittsburgh).

       41.     As a result of discriminatory hiring practices as well as discriminatory

promotion practices, the Boston office, where the Chairman of the Firm is based and

controls the hiring and staffing, has never had an African American male employee.

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Upon information and belief, the Chairman of the Firm is attempting to make the rest of

the Firm look like the Boston office.

        42.     As a result of discriminatory hiring practices as well as discriminatory

promotion practices, the Firm has only one African American employee in the State of

California. The Firm has offices in Los Angeles, San Francisco, Palo Alto and Orange

County. It is expected that the only African American employee of the Firm in California

will retire in 2021.

PLAINTIFF’S INVOLVEMENT IN THE AFRICAN AMERICAN
COMMUNITY AND AWARDS
        43.     Plaintiff, who is an African American, is a graduate of Columbia Law

School, Columbia College, and Choate Rosemary Hall.

        44.     Plaintiff is licensed to practice law in New York, New Jersey, and the

District of Columbia.

        45.     Plaintiff has practiced corporate law for over 30 years in New York City

working at AMLAW 250 law firms and representing Fortune 500 companies including

Microsoft, Goldman Sachs, DuPont, MetLife, CBRE, American Express, Tyco, Toys-

RUs, and Darden Restaurants.

        46.     Shaped by his background and experience, Plaintiff has always supported

gender and racial diversity including:



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              Supporting national organizations with diversity and inclusion missions

              for minority lawyers including the Minority Corporate Counsel

              Association, the National Bar Association, and Corporate Counsel Women

              of Color.

              Serving on the Board of Directors of the Upper Manhattan Empowerment

              Zone for eight years, working closely with the Honorable Charles

              Rangel—a former, extraordinarily long-serving Congressman, civil rights

              leader, and the “dean” of New York’s Congressional delegation for many

              years.

              Sitting on the Board of Directors for Junior Achievement of New York.

              Counseling numerous political figures and participating in the presidential

              campaigns of former President Barack Obama in 2008 and 2012, former

              United States Secretary of State Hillary Clinton in 2016, and President

              elect Joe Biden in 2020.

       47.    Plaintiff has received numerous awards related to his legal and

philanthropic efforts. He was named by Black Enterprise magazine as one of the nation’s

best lawyers and by Savoy magazine as one of the top African American lawyers in

America.


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PLAINTIFF’S EMPLOYMENT AT K&L GATES LLP

       48.    Plaintiff worked at prestigious AMLAW 250 law firms including Akin

Gump Strauss Hauer & Feld LLP and Thelen Reid and Priest. Plaintiff had a

multimillion-dollar book of business, which was developed over the years through

Plaintiff’s hard work, board of directors and community work, and relationships in the

minority community and with diversity bar associations.

       49.    Plaintiff was recruited by the Firm and joined the Firm in 2005, joining its

corporate group as an employee.

       50.    When Plaintiff joined the Firm’s New York Office in 2005, the Firm

had a policy which outlined the terms for compensation and remuneration around

origination credit for clients Plaintiff and others brought to the Firm. Per the policy,

the employee who establishes the initial client relationship determines the

allocations of credit and compensation for the following categories:

       Origination Credit: Principal client contact. Notably, compensation is

       higher for origination credit.

       Responsible Matter Credit: Attorney performing the work for the
       client.

       Billing and Inventory Credit: Attorney responsible for billing and

       collecting fees for the client.



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       51.     With respect to many clients, Plaintiff, due to his race, was denied the

opportunity to participate in the allocation process or was instructed by the Firm as to

what the allocation would be without explanation or opportunity for input or appeal.

       52.     The Firm recruited Plaintiff, in part, because of the decades of goodwill

Plaintiff had built in the African American community, which the Firm believed would

provide it the opportunity to obtain new clients.

       53.     Also, the Firm was aware of Plaintiff’s long-standing advocacy for both

fairness in gender and racial diversity. The Firm believed this would enhance the Firm’s

brand and market position.

       54.     Plaintiff nevertheless was subjected to mistreatment for promoting

diversity and fairness at the Firm.

       55.     The Firm recruited Plaintiff to gain access to his business contacts, clients,

and associations, with no intention of keeping the gender and diversity commitments

made to Plaintiff.

       56.     The Firm used Plaintiff’s client contacts and market penetration arising

from his support for gender, orientation, and racial diversity, to divert fees Plaintiff

brought to the Firm to solely benefit White employees.




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        57.     Plaintiff complained internally about the failure of the Firm to use fees and

work generated by Plaintiff to promote diversity and gender equality within the Firm.

Plaintiff also complained about discrimination, harassment, and retaliation.

        58.     Plaintiff’s concerns intensified over a period of three years beginning in

2017, during which Plaintiff expressed to the Defendants – including the Firm’s Chair,

Executive Committee, Diversity Committee, Chief Diversity Officer, and numerous

individual employees – concerns about the Firm’s indifference and, in some cases,

hostility toward African American attorneys.

        59.     Specifically, Plaintiff expressed that the Firm was discriminating against

him in his compensation, denial of fair compensation, and access to office services and

support staff. Also, Plaintiff was aware that some of the White employees with the same

tenure and experience, but lesser client revenues, were paid more than Plaintiff.

        60.     In addition, Plaintiff complained to Firm Management and the Individual

Defendants that the Firm was failing to adhere to its own equal employment opportunity

policy, as well as federal, state, and local prohibitions against racial discrimination.

        61.     Plaintiff further complained to the Firm that its African American

revolving door and poor diversity record were hurting the Firm’s brand, and hampering

its ability to create and maintain quality client relationships.




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        62.     Plaintiff experienced retaliation after bringing these discriminatory

practices to the attention of the Firm’s management.

        63.     To combat the Firm’s racism and poor diversity record, Plaintiff took the

initiative to spearhead many diversity efforts to foster change and, while his advocacy

was well received externally and supported by groups that are typically marginalized in

the legal profession and workplace setting, as well as some of the Firm’s most elite

clients, it was ill-received by the Firm.

        64.     The Firm continuously discriminated and retaliated against Plaintiff by

interfering with his client relationships and also by failing to compensate him in his base

pay and bonus pay per the agreed upon terms of the Firm’s compensation policy.

        65.     On May 13, 2019, Plaintiff was wrongfully terminated because of his race

and in retaliation for his protected activity (i.e., (i) internal complaints about the

discrimination, harassment, and retaliation Plaintiff was personally subjected to; (ii)

internal complaints about the Firm’s discrimination against other African American

lawyers; and (iii) internal complaints about the mistreatment of women at the Firm,

including those who had been, or were being, sexually harassed by senior management.

        66.     Even though Plaintiff is no longer at the Firm, the clients he brought to the

Firm remain clients of the Firm. Hence, the Firm’s White attorneys continue to be




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unjustly enriched by clients that Plaintiff brought into the Firm, clients who continue to

generate multi-million dollar revenue for the Firm annually.

a. PLAINTIFF IS DENIED FAIR COMPENSATION

        67.    One of Plaintiff’s main clients while at the Firm was Microsoft.

        68.    Although Plaintiff expanded the Firm’s relationship with Microsoft, an

iconic global company and brand, on the strength of his close personal relationships with

Microsoft’s President and Chief Legal Officer, and a senior Microsoft lawyer who is

African American, Plaintiff was cheated out of, and denied fair compensation during his

employment at the Firm.

        69.    With respect to Plaintiff, the Firm breached its policy of crediting firm

employees for introducing new clients and matters to the Firm. For example, even though

Microsoft was Plaintiff’s client based in part on Plaintiff’s relationship with the President

and Chief Legal Officer of Microsoft, he was never fairly compensated for the business

revenues generated from Microsoft’s legal work. He was also denied fair compensation

for bringing PepsiCo and Starbucks into the Firm as clients.

        70.    Plaintiff, who was at all times qualified, at all times performed and met all

of his professional obligations to the Firm.

        71.    The Firm repeatedly breached its policy by not fairly compensating

Plaintiff.

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        72.    The practice of denying Plaintiff fair compensation continued over

Plaintiff’s entire seventeen (17) year tenure at the Firm, with compensation diverted to

White employees without notice or explanation. Such conduct by the Firm drastically

reduced Plaintiff’s compensation, and effectively reduced him from being an equity

employee to being a junior associate, causing Plaintiff substantial lost wages and other

harm.

        73.    All of the Firm’s actions have caused Plaintiff mental anguish.

        74.    The practice of denying African American employees fair compensation at

the Firm was institutionalized.

        75.    White employees who were Plaintiff’s counterparts, such as Defendant

Bicks, for example, were allocated compensation which they had not earned.

b. PLAINTIFF AND AFRICAN AMERICAN ATTORNEYS ARE DISCRIMINATED AGAINST IN
MICROSOFT MATTERS

        76.    In addition, the Firm discriminated against Plaintiff and other African

American employees and associate attorneys by interfering with and preventing Plaintiff

and those attorneys from working on Microsoft matters. This practice by the Firm

intentionally kept the compensation of African American attorneys lower than White

attorneys at the Firm. As a result, many African American attorneys left the firm

nominally “voluntarily,” including in lieu of the Firm discharging them.



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       77.     Among the African American lawyers at the Firm who were excluded and

denied opportunities were:

       Jane Doe 1 (African American)

       Jane Doe 2 (African American)

       Jane Doe 3 (African American)

       Jane Doe 14 (African American)

       John Doe 6 (African American)

       John Doe 7 (African American)

       78.     When Plaintiff questioned the Firm and the Individual Defendants as to

why they were preventing him, and other African American attorneys, from servicing

Microsoft, Plaintiff was told by Firm Management that even though Microsoft requested

the participation of African American attorneys on its matters, “Black lawyers don’t fit

in, and Asian lawyers are preferred.”

       79.     Plaintiff found this response, and other, similar responses to be

unacceptable, blatantly racist, and in violation of federal, state and local law.

       80.     All of Plaintiff’s internal complaints of racism and discrimination went

ignored and uncorrected.




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       a. This racism against African American lawyers is one of the reasons why Jane

       Doe 1, former Head of Diversity, left the Firm less than 60 days after Plaintiff

       was pushed out.

       b. This racism against African American lawyers is one of the reasons why Jane

       Doe 2 (Employee) left the Firm in 2020

       c. Racism against African American lawyers is one of the reasons Jane Doe 3

       (Employee) left the Firm at the end of 2019.

       81.     Defendants took yet further action against Plaintiff in reprisal for his

complaints, including, but not limited to, barring Plaintiff’s access to work on Microsoft

matters and failing to include him in client strategy phone calls, meetings, staffing reports

and strategy sessions.

       82.     When Plaintiff requested Defendants Caccese, Segerdahl and Zanic – all

of whom are White – meet with the African American Microsoft lead relationship

attorney, who is based on the East Coast (New York and Washington, D.C.), all three

refused, and said that the African American Microsoft relationship attorney should fly

across country to Seattle to meet with Defendant Becker.

       83.     Defendant Becker, another White employee at the Firm, became

Defendants’ point person on all Microsoft matters.


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           84.   Defendant Becker repeatedly told Plaintiff, “White associates

understand the Microsoft contracts better than the Black attorneys.”

           85.   The Firm barred African American attorneys and Plaintiff from meeting

with the African American Microsoft lead relationship attorney.

           86.   Plaintiff was incensed that the Individual Defendants refused to meet with

the in-house lead, who is African American. Plaintiff raised concerns that they were

treating the African American lead attorney differently than White in-house leads at other

clients.

           87.   When Plaintiff pressed the matter, and voiced more concerns about the

Firm losing the Microsoft business, the Firm’s leadership team threatened Plaintiff with

reduced compensation if he did not cease such conversations. These threats yet further

aggravated the already hostile work environment to which Plaintiff was being subjected,

and caused Plaintiff yet further mental anguish.

           88.   Shortly thereafter, Defendant Bicks assaulted Plaintiff in the hallway of

the Firm’s New York office, near the elevator. Defendant Bicks pushed Plaintiff, yelled

at him, and spit in his face. This conduct was threatening, offensive, intimidating, and

abusive.

           89.   The Firm thereafter further punished Plaintiff by reducing his

compensation.

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c. PLAINTIFF IS REMOVED AS POINT PERSON FOR CORPORATE COUNSEL WOMEN OF
COLOR AND BUSINESS GENERATION IS GIVEN TO NON-AFRICAN AMERICAN EMPLOYEE
WHO DIVERTED CONTACTS TO WHITE EMPLOYEES


       90.     Another overt act of discrimination by Defendants related to the

relationship with a diversity-focused bar association, Corporate Counsel Women of Color

(“CCWC”), which Plaintiff had brought to the Firm.

       91.     Through Plaintiff, the Firm’s brand had been significantly enhanced as the

elite title sponsor of CCWC’s annual conference for 14 years. For over a decade, the

Firm’s affiliation with CCWC, and the exposure the Firm gained at CCWC’s annual

conference, brought the Firm multiple millions of dollars in revenue by connecting the

Firm with prominent in-house decision-making lawyers who awarded business to law

firms that valued and championed diversity.

       92.     The Firm nevertheless interfered with Plaintiff’s relationship with CCWC

by barring Plaintiff from participating internally in the strategic development of the

relationships that Plaintiff had created and had brought to the Firm.

       93.     Each year, Plaintiff requested to be included, and each year he was denied.

       94.     The Firm removed Plaintiff as CCWC’s point person, and denied him this

opportunity because of his race, and thereby also hindered his ability to develop new

Clients throughout the year and at the annual conference with Fortune 1000 and Forbes

2000 legal departments.
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       95.     Instead, Plaintiff was replaced by Defendant Wahi, a South Asian

employee, as the point person for the CCWC conference. When Plaintiff complained to

Defendant Wahi, she responded, “Black lawyer diversity is not what the Firm is

interested in. The Firm is interested in Asian diversity.”

       96.     Defendant Wahi became the diversity “face” of the Firm at the CCWC

annual event. Defendant Wahi would collect all the contacts at the conference for

business generation and then funnel those contacts back to White employees of the Firm.

       97.     Defendant Wahi and others made multiple millions of dollars for the Firm,

and for themselves, from this practice, while Plaintiff was completely shut out and

undercompensated.

       98.     For successfully directing business contacts from CCWC to White

employees, the Firm rewarded Defendant Wahi, promoting her to Co-Managing

Employee of its US Offices and appointing her to the Firm’s Executive Management

Committee.

       99.     Defendant Wahi’s appointment to the Executive Management Committee

was at the expense of the only African American on the Executive Management

Committee, John Doe 6. John Doe 6 was removed from the Executive Management

Committee because of his race, even though he was the only African American employee

on the Executive Management Committee.

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       100.    Since the Firm replaced John Doe 6 with Defendant Wahi, there have been

no African Americans appointed to the Executive Management Committee.

d. PLAINTIFF IS DISCHARGED
AFTER PLAINTIFF ENGAGED IN PROTECTED ACTIVITY OF ADVOCATING FOR AFRICAN
AMERICAN LAWYERS AND WOMEN ATTORNEYS WHO HAD BEEN SEXUALLY HARASSED BY
MANAGEMENT
       101. Some of the Firm’s discriminatory practices were publicly exposed in

2018, when the plight of several women who were sexually harassed by partners with

power at the Firm was raised in the national internet publication Law.com on December

12, 2018. See At K&L Gates, Women Alleged Misconduct Left, as Accused Partners

Stayed On (Law.com, December 12, 2018)

(https://www.law.com/thelegalintelligencer/2018/12/12/at-kl-GATES-women alleged-

misconduct-and-left-as-accused-partners-stayed-on/). This article brought the Firm

negative attention.

       102.    It was known Firm-wide that some of the male partners on the Firm’s

Executive Management Committee would “date” women lawyers in the Firm, and then

make determinations about their compensation.

       103.    In response to the December 12, 2018 article, on December 20, 2018,

Plaintiff sent over 300 partners in the Firm, including Firm Management, the Head of

Diversity, each of the members of the Firm’s Management Committee, and several others

an email addressing the issue.

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       104.    Plaintiff suggested new policies and procedures for preventing similar

behavior in the future. As a result of this e-mail, the Firm’s Executive Management

Committee began more aggressive retaliatory actions against Plaintiff.

       105.    On January 30, 2019, Plaintiff was notified that the Firm was barring his

access to its offices, and suspending his access to his emails and to secretarial services.

       106.    Defendants also engaged in efforts and pressure to force Plaintiff’s

“overall separation from the Firm.”

       107.    The reason the Firm gave Plaintiff for his discharge (to wit, that he was

involved in a divorce proceeding), was pretextual.

       108.    This cited reason by the Firm and inconsistent application to White

partners who have engaged in egregious conduct merely highlights the discriminatory

nature of the Firm’s actions.

       109.    No White partners who had gone through divorce proceedings had, or

since have, been discharged. To the contrary, even White partners who have engaged in

serious misconduct (e.g., spousal abuse; drunk driving; substance abuse; etc.) have not

been discharged, or even disciplined by the Firm.

       110.    Upon information and belief, Plaintiff, an African American, was the first

employee in the history of the Firm to be unfairly discharged.



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       111.      The Firm never provided Plaintiff an opportunity to present a defense to

his discharge, or any other process or opportunity to be heard.

       112.      The Firm refused to advise how its vote to discharge him – if, indeed,

there actually ever was one – was conducted and, if there was one, who had voted to

discharge him.

       113.      Plaintiff engaged in protected activity. Defendants were aware of the

protected activity. As a result of race discrimination and retaliation, shortly thereafter, on

May 19, 2019, the Firm took a materially adverse employment action against Plaintiff in

discharging him from the Firm.

       114.      Plaintiff was officially terminated on May 19, 2019.

THE FIRM WEAPONIZES RACE AND HARASSES PLAINTIFF WITH
PRIVATE INVESTIGATORS AND ON AND OFF DUTY POLICE OFFICERS
AFTER HIS TERMINATION

       115.      Defendants’ retaliation and harassment of Plaintiff did not cease upon

Plaintiff’s termination.

       116.      The Firm has since embarked on a campaign of intimidating Plaintiff,

which campaign continues through and including the date hereof.

       117.      After improperly and unlawfully discharging Plaintiff, Defendants

engaged third-party, armed individuals to follow Plaintiff to yet further intimidate and




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bully him, including at a conference of Black attorneys in Chicago in September 2019 at

the Chicago Marriott Downtown Magnificent Mile.

       118.    On Defendants’ orders, private investigators and on- and off-duty police

officers have also harassed Plaintiff, and his family.

       119.    Said individuals have frequently appeared at Plaintiff’s home, brandishing

their weapons, and otherwise causing Plaintiff and his family significant and severe

mental anguish and emotional distress.

       120.    The Firm’s unlawful conduct and intimidation tactics are ongoing.

       121.    To protect himself and his family, Plaintiff has filed complaints against the

Firm with the New York County District Attorney’s Office, the New York City Police

Department, and the Chicago Marriott Downtown Magnificent Mile.

       122.    Following the filing of the initial complaint, Defendants’ tactics of threats

and intimidation increased after the Plaintiff informed Defendant Caccese that the

relationships the Firm maintains with certain members of the Chinese Communist Party

has resulted in the breach of K L Gates’ security walls in the Firm’s Beijing, Shanghai,

Seoul, Taipei, Hong Kong and Seattle offices.

                             FIRST CAUSE OF ACTION
                   (Race Discrimination in Violation of Section 1981)
                               (Against All Defendants)

       123.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

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        124.   By the actions described above, among others, Defendants have

discriminated against Plaintiff on the basis of his race in violation of Section 1981.

Defendants have treated Plaintiff less favorably than White employees by denying him

the same terms and conditions of employment available to employees who are White,

including, but not limited to, subjecting him to a hostile work environment, and disparate

working conditions, and denying him the terms and conditions of employment equal to

those of the employees who are White.

        125.   As a direct and proximate result of Defendants’ discriminatory conduct,

Plaintiff suffered and will continue to suffer monetary and/or economic harm, including,

but not limited to, loss of future income, compensation, and benefits for which he is

entitled to an award of damages.

        126.   As a direct and proximate cause of Defendants’ discriminatory conduct,

Plaintiff also suffered extreme mental anguish, depression, severe disruption of his

personal and emotional life, and loss of enjoyment in the ordinary pleasures of everyday

life.

        127.   As a result of Defendants’ violation of Section 1981, Plaintiff has been

damaged in an amount to be determined at trial but not less than Five Million Dollars

($5,000,000) for compensatory damages, emotional distress, adverse effects on his

career, and diminished earning capacity.

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       128.    Moreover, Defendants’ unlawful and discriminatory actions were

intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under Section 1981 for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendants’ unlawful employment

practices.

       129.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                           SECOND CAUSE OF ACTION
                       (Retaliation in Violation of Section 1981)
                                (Against All Defendants)

       130.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       131.    By the actions described above, among others, Defendants retaliated

against Plaintiff for making protected complaints regarding discrimination, including by

denying him compensation and discharging him.

       132.    As a direct and proximate result of Defendants’ retaliatory conduct in

violation of Section 1981, Plaintiff has suffered, and will continue to suffer, harm and

pecuniary losses for which he is entitled to an award of compensatory damages.

       133.    As a direct and proximate cause of Defendants’ retaliatory conduct,

Plaintiff also suffered extreme mental anguish, depression, severe disruption of his

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personal and emotional life, and loss of enjoyment in the ordinary pleasures of everyday

life.

        134.   As a result of Defendants’ violation of Section 1981, Plaintiff has been

damaged in an amount to be determined at trial but not less than Five Million Dollars

($5,000,000) for compensatory damages, emotional distress, adverse effects on his

career, and diminished earning capacity.

        135.   Moreover, Defendants’ unlawful and discriminatory actions were

intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under Section 1981 for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendants’ unlawful employment

practices.

        136.   Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                            THIRD CAUSE OF ACTION
                     (Race Discrimination in Violation of Title VII)
                                 (Against K&L Gates)

        137.   Plaintiff realleges and incorporates by reference the foregoing paragraphs.

        138.   By the actions described above, among others, Defendant K&L GATES

has discriminated against Plaintiff on the basis of his race in violation of Title VII.

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       139.    Defendant K&L GATES has treated Plaintiff less favorably than White

employees by denying him the same terms and conditions of employment available to

employees who are White, including, but not limited to, subjecting him to a hostile work

environment, and disparate working conditions and denying him the terms and conditions

of employment equal to that of the employees who are White.

       140.    As a direct and proximate result of Defendant K&L GATES’s

discriminatory conduct, Plaintiff suffered and will continue to suffer monetary and/or

economic harm, including, but not limited to, loss of future income, compensation, and

benefits for which he is entitled to an award of damages.

       141.    As a direct and proximate cause of Defendant K&L GATES’s

discriminatory conduct, Plaintiff also suffered extreme mental anguish, depression,

severe disruption of his personal and emotional life, and loss of enjoyment in the ordinary

pleasures of everyday life.

       142.    As a result of Defendant K&L GATES’s violation of Title VII, Plaintiff

has been damaged in an amount to be determined at trial but not less than Five Million

Dollars ($5,000,000) for compensatory damages, emotional distress, adverse effects on

his career, and diminished earning capacity.

       143.    Moreover, Defendant K&L GATES’s unlawful and discriminatory actions

were intentional, and done with malice and/or showed a deliberate, willful, wanton, and

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reckless indifference to Plaintiff and his rights under Title VII for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendant K&L GATES’s unlawful

employment practices.

       144.      Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                              FOURTH CAUSE OF ACTION
                            (Retaliation in Violation of Title VII)
                                   (Against K&L Gates)

       145.      Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       146.      By the actions described above, among others, Defendant K&L GATES

retaliated against Plaintiff for making protected complaints regarding discrimination,

including by denying him compensation and discharging him.

       147.      As a direct and proximate result of Defendant K&L GATES’s retaliatory

conduct in violation of Title VII, Plaintiff has suffered, and will continue to suffer, harm

and pecuniary losses for which he is entitled to an award of compensatory damages.

       148.      As a direct and proximate cause of Defendant K&L GATES’s retaliatory

conduct, Plaintiff also suffered extreme mental anguish, depression, severe disruption of

his personal and emotional life, and loss of enjoyment in the ordinary pleasures of

everyday life.

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       149.    As a result of Defendant K&L GATES’s violation of Title VII, Plaintiff

has been damaged in an amount to be determined at trial but not less than Five Million

Dollars ($5,000,000) for compensatory damages, emotional distress, adverse effects on

his career, and diminished earning capacity.

       150.    Moreover, Defendant K&L GATES’s unlawful and discriminatory actions

were intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under Title VII for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendant K&L GATES’s unlawful

employment practices.

       151.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                             FIFTH CAUSE OF ACTION
                     (Discrimination in Violation of the NYSHRL)
                                 (Against K&L Gates)

       152.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       153.    Defendant K&L GATES has discriminated against Plaintiff on the basis of

his race in violation of the NYSHRL by denying him the same terms and conditions of

employment available to employees who are White, including, but not limited to,




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subjecting him to disparate working conditions and compensation, and ultimately

terminating Plaintiff’s employment.

       154.    As a direct and proximate result of Defendant K&L GATES’s unlawful

and discriminatory conduct in violation of the NYSHRL, Plaintiff has suffered and will

continue to suffer monetary and/or economic harm for which he is entitled to an award of

damages.

       155.    As a direct and proximate cause of Defendant K&L GATES’s

discriminatory conduct, Plaintiff also suffered extreme mental anguish, depression,

severe disruption of his personal and emotional life, and loss of enjoyment in the ordinary

pleasures of everyday life.

       156.    As a result of Defendant K&L GATES’s violation of the NYSHRL,

Plaintiff has been damaged in an amount to be determined at trial but not less than Five

Million Dollars ($5,000,000) for compensatory damages, emotional distress, adverse

effects on his career, and diminished earning capacity.

       157.    Moreover, Defendant K&L GATES’s unlawful and discriminatory actions

were intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under the NYSHRL for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars




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($5,000,000) to punish and deter continuation of Defendant K&L GATES’s unlawful

employment practices.

        158.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                              SIXTH CAUSE OF ACTION
                        (Retaliation in Violation of the NYSHRL)
                                   (Against K&L Gates)

        159.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

        160.    By the actions described above, among others, Defendant K&L GATES

has retaliated against Plaintiff on the basis of his protected activities in violation of

NYSHRL by, inter alia, ignoring his protected complaints about the discriminatory

treatment of non-White employees, subjecting him to increased scrutiny and harassment

and ultimately terminating his employment.

        161.    As a direct and proximate result of Defendant K&L GATES’s unlawful

and discriminatory conduct in violation of the NYSHRL, Plaintiff has suffered and will

continue to suffer monetary and/or economic harm for which he is entitled to an award of

damages.

        162.    As a direct and proximate cause of Defendant K&L GATES’s retaliatory

conduct, Plaintiff also suffered extreme mental anguish, depression, severe disruption of




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his personal and emotional life, and loss of enjoyment in the ordinary pleasures of

everyday life.

       163.      As a result of Defendant K&L GATES’s violation of the NYSHRL,

Plaintiff has been damaged in an amount to be determined at trial but not less than Five

Million Dollars ($5,000,000) for compensatory damages, emotional distress, adverse

effects on his career, and diminished earning capacity.

       164.      Moreover, Defendant K&L GATES’s unlawful and retaliatory actions

were intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under the NYSHRL for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendant K&L GATES’s unlawful

employment practices.

       165.      Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                           SEVENTH CAUSE OF ACTION
(Aiding and Abetting Discrimination and Retaliation in Violation of the NYSHRL)
                      (Against the Individual Defendants)

       166.      Plaintiff realleges and incorporates by reference the foregoing paragraphs.




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       167.    The NYSHRL provides that it shall be an unlawful discriminatory practice

“[f] or any person to aid, abet, incite, compel or coerce the doing of any acts forbidden

under this article, or attempt to do so.”

       168.    By the actions described above, among others, the Individual Defendants

engaged in an unlawful discriminatory and retaliatory practice in violation of NYSHRL

by aiding, abetting, inciting, compelling, and coercing the unlawful discrimination by

Defendant K&L GATES in violation of the NYSHRL.

       169.    By the actions described above, among others, the Individual Defendants

engaged in an unlawful and retaliatory practice in violation of NYSHRL by aiding,

abetting, inciting, compelling, and coercing the unlawful retaliation in violation of the

NYSHRL.

       170.    As a direct and proximate result of the Individual Defendants’ unlawful

discriminatory and retaliatory conduct in violation of the NYSHRL, Plaintiff has suffered

and will continue to suffer monetary and/or economic harm for which he is entitled to an

award of damages.

       171.    As a direct and proximate cause of Defendants’ unlawful conduct,

Plaintiff also suffered extreme mental anguish, depression, severe disruption of his

personal and emotional life, and of enjoyment in the ordinary pleasures of everyday life.




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       172.    As a result of Defendants’ violation of the NYSHRL, Plaintiff has been

damaged in an amount to be determined at trial but not less than Five Million Dollars

($5,000,000) for compensatory damages, emotional distress, adverse effects on his

career, and diminished earning capacity.

       173.    Moreover, Defendants’ unlawful actions were intentional, and done with

malice and/or showed a deliberate, willful, wanton, and reckless indifference to Plaintiff

and his rights under the NYSHRL for which Plaintiff is entitled to an award of punitive

damages in the amount of Five Million Dollars ($5,000,000) to punish and deter

continuation of Defendants’ unlawful employment practices.

       174.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                            EIGHTH CAUSE OF ACTION
                     (Discrimination in Violation of the NYCHRL)
                                (Against K&L Gates)

       175.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       176.    Defendant K&L GATES has discriminated against Plaintiff on the basis of

his race in violation of the NYCHRL by denying him the same terms and conditions of

employment available to employees who are White, including, but not limited to,

subjecting him to disparate working conditions and compensation, and ultimately

terminating Plaintiff’s employment.

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       177.    As a direct and proximate result of Defendant K&L GATES’s unlawful

and discriminatory conduct in violation of the NYCHRL, Plaintiff has suffered and will

continue to suffer monetary and/or economic harm for which he is entitled to an award of

damages.

       178.    As a direct and proximate cause of Defendant K&L GATES’s

discriminatory conduct, Plaintiff also suffered extreme mental anguish, depression,

severe disruption of his personal and emotional life, and of enjoyment in the ordinary

pleasures of everyday life.

       179.    As a result of Defendant K&L GATES’s violation of the NYCHRL,

Plaintiff has been damaged in an amount to be determined at trial but not less than Five

Million Dollars ($5,000,000) for compensatory damages, emotional distress, adverse

effects on his career, and diminished earning capacity.

       180.    Moreover, Defendant K&L GATES’s unlawful and discriminatory actions

were intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under the NYCHRL for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendant K&L GATES’s unlawful

employment practices.




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        181.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                              NINTH CAUSE OF ACTION
                        (Retaliation in Violation of the NYCHRL)
                                   (Against K&L Gates)

        182.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

        183.    By the actions described above, among others, Defendant K&L GATES

has retaliated against Plaintiff on the basis of his protected activities in violation of

NYCHRL by, inter alia, ignoring his protected complaints about the discriminatory

treatment of non-White employees, subjecting him to increased scrutiny and harassment

and ultimately terminating his employment.

        184.    As a direct and proximate result of Defendant K&L GATES’s unlawful

and discriminatory conduct in violation of the NYCHRL, Plaintiff has suffered and will

continue to suffer monetary and/or economic harm for which he is entitled to an award of

damages.

        185.    As a direct and proximate cause of Defendant K&L GATES’s retaliatory

conduct, Plaintiff also suffered extreme mental anguish, depression, severe disruption of

his personal and emotional life, and of enjoyment in the ordinary pleasures of everyday

life.




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       186.    As a result of Defendant K&L GATES’s violation of the NYCHRL,

Plaintiff has been damaged in an amount to be determined at trial but not less than Five

Million Dollars ($5,000,000) for compensatory damages, emotional distress, adverse

effects on his career, and diminished earning capacity.

       187.    Moreover, Defendant K&L GATES’s unlawful and retaliatory actions

were intentional, and done with malice and/or showed a deliberate, willful, wanton, and

reckless indifference to Plaintiff and his rights under the NYCHRL for which Plaintiff is

entitled to an award of punitive damages in the amount of Five Million Dollars

($5,000,000) to punish and deter continuation of Defendant K&L GATES’s unlawful

employment practices.

       188.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                           TENTH CAUSE OF ACTION
(Aiding and Abetting Discrimination and Retaliation in Violation of the NYCHRL)
                      (Against the Individual Defendants)


       189.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       190.    By the actions described above, among others, the Individual Defendants

engaged in an unlawful discriminatory and retaliatory practice in violation of the

NYCHRL by aiding, abetting, inciting, compelling, and coercing the unlawful

discrimination in violation of the NYSHRL.
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       191.    As a direct and proximate result of the Individual Defendants’ unlawful

discriminatory and retaliatory conduct in violation of the NYCHRL, Plaintiff has suffered

and will continue to suffer monetary and/or economic harm for which he is entitled to an

award of damages.

       192.    As a direct and proximate cause of Defendants’ unlawful conduct,

Plaintiff also suffered extreme mental anguish, depression, severe disruption of his

personal and emotional life, and of enjoyment in the ordinary pleasures of everyday life.

       193.    As a result of Defendants’ violation of the NYCHRL, Plaintiff has been

damaged in an amount to be determined at trial but not less than Five Million Dollars

($5,000,000) for compensatory damages, emotional distress, adverse effects on his

career, and diminished earning capacity.

       194.    Moreover, Defendants’ unlawful actions were intentional, and done with

malice and/or showed a deliberate, willful, wanton, and reckless indifference to Plaintiff

and his rights under the NYCHRL for which Plaintiff is entitled to an award of punitive

damages in the amount of Five Million Dollars ($5,000,000) to punish and deter

continuation of Defendants’ unlawful employment practices.

       195.    Plaintiff is further entitled to pre-judgment interest on all monies awarded,

as well as reasonable attorneys’ fees and costs.

                          ELEVENTH CAUSE OF ACTION

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               (Negligent Hiring, Training, Retention and Supervision)
                             (As Against K&L GATES)

        196.   Plaintiff realleges and incorporates by reference the foregoing paragraphs.

        197.   As a result of Plaintiff’s complaints, Defendant K&L GATES knew or

should have known by the exercise of diligence and reasonable care of the racially based

hostile work environment and discrimination perpetuated by Defendant K&L GATES’s

management employees.

        198.   Defendant K&L GATES failed to properly select, train and supervise its

managers such that incidents of discrimination, retaliation, harassment, hostile work

environment are prevented and, if not prevented, properly investigated and corrected.

        199.   As a direct and proximate result of Defendant K&L GATES’s negligent

conduct, Plaintiff has suffered and will continue to suffer monetary and/or economic

harm for which he is entitled to an award of damages.

        200.   As a direct and proximate cause of Defendant K&L GATES’s negligent

conduct, Plaintiff also suffered extreme mental anguish, depression, severe disruption of

his personal and emotional life, and of enjoyment in the ordinary pleasures of everyday

life.

        201.   As a result of Defendants’ negligent conduct, Plaintiff has been damaged

in an amount to be determined at trial but not less than Five Million Dollars ($5,000,000)


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for compensatory damages, emotional distress, adverse effects on his career, and

diminished earning capacity.

        202.    As a result of the foregoing, Plaintiff has been damaged in an amount to

be determined at trial but not less than Five Million Dollars ($5,000,000) for

compensatory damages, emotional distress, adverse effects on his career, and diminished

earning capacity.

                            TWELFTH CAUSE OF ACTION
                             Unjust Enrichment) (As Against
                                        All Defendants)
        203.            Plaintiff realleges and incorporates by reference the foregoing

paragraphs.

        204.            Defendants have been substantially and materially enriched by

Plaintiff’s efforts, contacts, associations, affiliations, and work.

        205.            Defendants, to this date, continue to reap the benefits of Plaintiff’s

efforts, contacts, associations, affiliations, and work.

        206.            Plaintiff has contributed years of his own personal finances that

have helped to enrich Defendants.

        207.    It is against equity and good conscience to permit Defendants to retain the

benefit of Plaintiff’s efforts, contacts, associations, affiliations, and work without

properly and fully compensating Plaintiff therefor.


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       208.    As a result of the foregoing, Plaintiff has been damaged in an amount to

be determined at trial but not less than Five Million Dollars ($5,000,000).

                             THIRTEENTH CAUSE OF
                           ACTION (Intentional Infliction of
                                Emotional Distress)


                              (As Against All Defendants)

       209.    Plaintiff realleges and incorporates by reference the foregoing paragraphs.

       210.    By the actions described above, among others, Defendants engaged in

extreme and outrageous conduct.

       211.    Among others, Defendant Bicks engaged in extreme and outrageous

conduct.

       212.    Defendants sending private investigators and on and off duty police

officers after Plaintiff and his family is extreme and outrageous conduct.

       213.    This conduct by Defendants was intended to cause Plaintiff mental

anguish and severe emotional distress.

       214.    As a direct and proximate cause of Defendants’ conduct, Plaintiff suffered

extreme mental anguish including severe emotional distress, depression, severe

disruption of his personal and emotional life, and of enjoyment in the ordinary pleasures

of everyday life.



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        215.   As a result of Defendants’ conduct, Plaintiff has been damaged in an

amount to be determined at trial but not less than Five Million Dollars ($5,000,000) for

compensatory damages, emotional distress, adverse effects on his career, and diminished

earning capacity.

        216.   Plaintiff is further entitled to reasonable attorneys’ fees and costs.

                        FOURTEENTH CAUSE OF ACTION
                          (Negligent Infliction of Emotional
                         Distress) (As Against All Defendants)

        217.   Plaintiff realleges and incorporates by reference the foregoing paragraphs.

        218.   Defendants owed Plaintiff, as their employee, a duty of care.

        219.   Defendants, by the actions described above, breached their duty to

Plaintiff.

        220.   This conduct by Defendants was intended to cause Plaintiff mental

anguish and severe emotional distress.

        221.   As a direct and proximate cause of Defendants’ conduct, Plaintiff suffered

extreme mental anguish including severe emotional distress, depression, severe

disruption of his personal and emotional life, and of enjoyment in the ordinary pleasures

of everyday life.

        222.   As a result of Defendants’ conduct, Plaintiff has been damaged in an

amount to be determined at trial but not less than Five Million Dollars ($5,000,000) for

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compensatory damages, emotional distress, adverse effects on his career, and diminished

earning capacity.

       223.    Plaintiff is further entitled to reasonable attorneys’ fees and costs.

                                 PRAYER FOR RELIEF

Wherefore, the Plaintiff prays that the Court grant the following relief:

   a) Enjoin Defendants from: (I) subjecting employees to discrimination and
      harassment including a hostile work environment based on race; and (ii)
      retaliating against employees who engage in activity protected under Section
      1981, Title VII, the New York State Human Rights Law, and New York City
      Human Rights Law;

   b) Enjoin Defendants from harassing Plaintiff including sending private investigators
      and on and off duty police officers after Plaintiff and his family and to his home;

   c) Order Defendants to develop and implement appropriate and effective measures
      designed to prevent discrimination, harassment, and retaliation, including but not
      limited to policies and training for employees and managers;

   d) Order Defendants to develop appropriate and effective measures to receive
      complaints of discrimination, harassment, and retaliation as well as a process for
      investigating such complaints;

   e) Order Defendants to make whole Plaintiff by providing appropriate back pay with
      pre-judgment interest, and other affirmative and equitable relief necessary to
      eradicate the effects of their unlawful employment practices;

   f) Order Defendants to make Plaintiff whole by providing compensation for past and
      future pecuniary losses resulting from the unlawful employment practices
      described above, including but not limited to medical expenses in amounts to be
      determined at trial but not less than Five Million Dollars ($5,000,000);

   g) Order Defendants to make whole Plaintiff by providing compensation for past and
      future non-pecuniary losses, including emotional pain, suffering, inconvenience,
      mental anguish, loss of enjoyment of life, and humiliation in amounts to be
      determined at trial but not less than Five Million Dollars ($5,000,000);

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   h) Order Defendants to pay Plaintiff punitive damages for their malicious reckless
      conduct described above, in amounts to be determined at trial but believed not to
      exceed Five Million Dollars ($5,000,000);

   i) Order Defendants to provide Plaintiff with (i) a copy of the Merger Agreement
      between Kilpatrick Lockhart and Preston Gates, including the country risk report
      prepared in connection with the merger, detailing Preston Gates’ relationships
      with The Chinese Communist Party and (ii) the reports prepared by Defendants
      related to security wall breaches over the past 14 months in the Firm’s Beijing,
      Shanghai, Seoul, Taipei, Hong Kong and Seattle offices;

   j) Award Plaintiff pre-judgment interest on each and every amount owed to
      Plaintiff;

   k) Award Plaintiff all attorneys’ fees, expert fees, and other costs; and

   l) Award any and all other relief as is or may be awardable or recoverable under
      applicable law.

                                     JURY DEMAND


       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby

demands a trial by jury on all claims triable by a jury.

Dated: March 22, 2021
       New York, New York


                                              Yours truly


                                              WILLIE E. DENNIS Plaintiff Pro Se
                                              P.O. Box 872
                                              New York, New York 10150


                                               By: Willie E. Dennis


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